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 6                      IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
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 9   Abigail Ratchford, et al.,                         No. CV-21-01041-PHX-GMS
10                  Plaintiffs,                         ORDER TO SHOW CAUSE
11   v.
12   Scottsdale Nights LLC,
13                  Defendant.
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16          The Court notes default was entered on behalf of Plaintiffs against Defendant
17   Scottsdale Nights LLC (Doc. 11). Plaintiffs substituted counsel on October 27, 2021 (Doc.
18   15). There has been no activity since the substitution of counsel.
19          IT IS HEREBY ORDERED that Plaintiffs show cause no later than March 24,
20   2022, as to why this action should not be terminated for Plaintiffs’ failure to prosecute.
21          IT IS FURTHER ORDERED if Plaintiffs fail to respond to the Court’s Order to
22   Show Cause, the Clerk of Court shall terminate this action on or after March 25, 2022 for
23   Plaintiffs’ lack of prosecution pursuant to Rule 41(b), Fed. R. Civ. P., and LRCiv 41.1.
24          Dated this 15th day of March, 2022.
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